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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


JOSE MARIA DeCASTRO,
a/k/a CHILLE DeCASTRO,
a/k/a DELETE LAWZ,                               Case No. 1:22-cv-11421-ADB

             Plaintiff and Defendant-in-
             Counterclaim

       v.

JOSHUA ABRAMS a/k/a
ACCOUNTABILITY FOR ALL and
KATE PETER a/k/a
MASSHOLE TROLL MAFIA,

             Defendants and Plaintiffs-in-
             Counterclaim, and

GOOGLE LLC,

             Defendant.



            CORPORATE DISCLOSURE STATEMENT OF GOOGLE LLC




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        Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Google LLC discloses the

following: Google LLC is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet

Inc., a publicly traded company; no publicly traded company holds more than 10% of Alphabet

Inc.’s stock.



Dated: May 23, 2023                            Respectfully submitted,

                                               GOOGLE LLC

                                               By its attorneys,

                                                    /s/ Matthew D. Gorman
                                               Matthew D. Gorman (BBO No. 569406)
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                                               Professional Corporation
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                                 CERTIFICATE OF SERVICE
        Undersigned counsel certifies that this document was filed through the CM/ECF system

and will be served electronically to the registered participants identified on the Notice of

Electronic Filing, and that non-registered participants (if any) have been served today by U.S.

Mail.

                                                  Respectfully submitted,

                                                     /s/ Matthew D. Gorman
                                                  Matthew D. Gorman




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